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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                               )
UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )    Criminal No. 16-CR-10343-ADB
                                               )
MICHAEL L. BABICH et al.,                      )    ORAL ARGUMENT REQUESTED
                                               )
       Defendants.                             )

                         DEFENDANTS’ MOTION TO DISMISS
                             THE SECOND SUPERSEDING
                                   INDICTMENT

       Defendants Michael L. Babich, Michael J. Gurry, Richard M. Simon, Sunrise Lee,

Joseph A. Rowan, and Dr. John Kapoor hereby jointly move this Court to dismiss the

Government’s Second Superseding Indictment (Dkt. No. 419) pursuant to Federal Rules of

Criminal Procedure 7(c) and 12(b)(3)(B). Defendants have filed an accompanying memorandum

in support of their motion pursuant to Local Rules 112.1 and 7.1.

                            REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rules 112.1 and 7.1(d), Defendants respectfully request that oral

argument be scheduled on this motion.

       WHEREFORE, as further set out in their accompanying memorandum of law,

Defendants respectfully move the Court to dismiss the Second Superseding Indictment.
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Dated: October 31, 2018                       Respectfully submitted,

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                             LOCAL RULE 7.1 CERTIFICATION

         Pursuant to Local Rule 7.1, I hereby certify that counsel for Defendants have in good
faith attempted to confer with counsel for the Government to resolve or narrow the issues
presented by this motion, and that the disputed issues remain unresolved.


                                              /s/ Beth A. Wilkinson
                                              Beth A. Wilkinson
                                              Counsel for Dr. John Kapoor


                                 CERTIFICATE OF SERVICE

         I hereby certify that the foregoing document will be served on all counsel of record
 through the ECF system.


                                              /s/ Beth A. Wilkinson
                                              Beth A. Wilkinson
                                              Counsel for Dr. John Kapoor
